Case 18-18429-mdc        Doc 11    Filed 03/29/19 Entered 03/29/19 20:34:18             Desc Main
                                   Document     Page 1 of 3


              IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA
IN RE:                                :
JERRY F COLEMAN                       :    BK. No. 18-18429-mdc
                      Debtors         :
                                      :    Chapter No. 7
BANK OF AMERICA, N.A.                 :
                      Movant          :
               v.                     :
JERRY F COLEMAN                       :
               and                    :    11 U.S.C. §362
 ROBERT H. HOLBER, ESQUIRE (TRUSTEE)  :
                      Respondents     :

                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY

        BANK OF AMERICA, N.A. (“Movant”) hereby moves this Court, pursuant to 11 U.S.C

§362, for relief from the automatic stay with respect to certain real property of the Debtor having

an address of 124 TWIN OAK DRIVE, LEVITTOWN, PA 19056 (the “Property”), for all

purposes allowed by the Note (defined below), the Mortgage (defined below), and applicable

law, including but not limited to the right to foreclose. In further support of this Motion, Movant

respectfully states:

        1.      The Debtor has executed and delivered or is otherwise obligated with respect to

that certain promissory note in the original principal amount of $232,942.00 (the "Note"). A

copy of the Note is attached hereto as Exhibit “A”. Movant is an entity entitled to enforce the

Note.

        2.      Pursuant to that certain Mortgage, dated 01/14/2008 and recorded in the office of

the Recorder of Deeds of BUCKS County, Pennsylvania, (the "Mortgage"), all obligations

(collectively, the "Obligations") of the Debtor under and with respect to the Note and the

Mortgage are secured by the Property. A copy of the Mortgage is attached hereto as Exhibit

“B”.
Case 18-18429-mdc        Doc 11    Filed 03/29/19 Entered 03/29/19 20:34:18             Desc Main
                                   Document     Page 2 of 3


       3.      All rights and remedies under the Mortgage have been assigned to the Movant

pursuant to an assignment of mortgage. A copy of the assignment of mortgage is attached hereto

as Exhibit “C”.

       4.      As of 03/21/2019, the outstanding amount of the Obligations less any partial

payments or suspense balance is $286,275.54.

       5.      Debtor has failed to tender payments for the months of May 2017 through March

2019. The monthly payments for May 2017 through August 2017 are $1,408.15 each, the

monthly payments for September 2017 through November 2018 are $1,418.77 each, the monthly

payments for December 2018 through March 2019 are $1,407.85 each.

       6.      Upon information and belief, the encumbrances on the Property listed in the

Schedules or otherwise known, including but not limited to the encumbrances granted to

Movant, listed in order of priority are: (i) Movant $286,275.54; (ii) Hud Title I $86,524.00.

       7.      The amount of the next monthly payment of the Debtor(s) under the terms of the

Note and Mortgage is $1,407.85.

       8.      A foreclosure proceeding with respect to the Property is pending and, prior to the

filing of the bankruptcy, a sheriff sale was scheduled.

       9.      Cause exists for relief from the automatic stay for the following reasons:

            (a) Movant's interest in the Property is not adequately protected. Movant's interest in

the collateral is not protected by an adequate equity cushion.

            (b) Pursuant to 11 U.S.C. § 362(d)(2)(A), Debtor has no equity in the Property; and

pursuant to § 362(d)(2)(B), the Property is not necessary for an effective reorganization.

       WHEREFORE, Movant prays that this court issue an Order terminating or modifying the

stay and granting the following:
Case 18-18429-mdc        Doc 11    Filed 03/29/19 Entered 03/29/19 20:34:18           Desc Main
                                   Document     Page 3 of 3


       1.      Relief from the stay for all purposes allowed by the Note, the Mortgage, and

applicable law, including but not limited allowing Movant (and any successors or assigns) to

proceed under applicable non-bankruptcy law to enforce its remedies to foreclose upon and

obtain possession of the property and any and all other collateral pledged under the Mortgage.

       2.      That the Order be binding and effective despite any conversion of this bankruptcy

case to a case under any other chapter of Title 11 of the United States Code.

       3.      For such other relief as the Court deems proper.



                                                 Very truly yours,

                                                 /s/ Mario J. Hanyon, Esquire
                                                 Mario J. Hanyon, Esq., Id. No.203993
                                                 Phelan Hallinan Diamond & Jones, LLP
                                                 1617 JFK Boulevard, Suite 1400
                                                 One Penn Center Plaza
                                                 Philadelphia, PA 19103
                                                 Phone Number: 215-563-7000 Ext 31340
                                                 Fax Number: 215-568-7616
                                                 Email: mario.hanyon@phelanhallinan.com
